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                                                 U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     26 Federal Plaza, 37th Floor
                                                     New York, New York 10278


                                                     April 16, 2025

The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, S3 24 Cr. 542 (AS)

Dear Judge Subramanian:

       The Government respectfully submits this letter in opposition to the defendant’s
application—which is replete with mischaracterizations—to adjourn the May 5, 2025 trial date.
(Dkt. No 233). The defendant’s proffered basis for seeking such an adjournment is “allowing Mr.
Combs the necessary time to prepare his defense of the Third Superseding Indictment and resolve
Victim-4’s evidentiary issue.” (Id.). As previewed during the conference on April 14, 2025, the
defendant has tested out various bases for an adjournment request over the past week—including
purported Speedy Trial concerns and newly asserted discovery issues. These shifting explanations
denote nothing more than gamesmanship. Likewise, the latest iteration of the defendant’s evolving
request is unsupported by any legal authority and should be rejected outright. An adjournment of
any length should be denied.

       A. The Third Superseding Indictment Provides No Basis to Adjourn the Trial Date

        Contrary to the defendant’s letter, the third superseding indictment—adding a substantive
sex trafficking count for Victim-2—is not “substantially new conduct,” and it provides no basis
for an adjournment. As early as the defendant’s initial bail arguments, during which the
Government quoted from Victim-2’s messages to the defendant
                           , the Government has consistently described Victim-2 as a victim of sex
trafficking. Additionally, the Government’s search warrant applications (all of which were
included in its first production of discovery),                                            The first
superseding indictment, returned by the grand jury on January 30, 2025, also explicitly alleged the
defendant’s sex trafficking of Victim-2 as racketeering activity. See S1 Indictment ¶ 12(a).

        When the Government learned for the first time on March 24, 2025 about
                                                                            , the Government acted
swiftly to present this limited new evidence to the grand jury, which returned the S3 indictment on
April 4, 2025. Courts in this district routinely deny adjournment requests in such circumstances.
See, e.g., United States v. Shea, 20 Cr. 412 (AT), 2022 WL 1443918, at *6 (S.D.N.Y. May 6, 2022)
(denying trial adjournment when defendant was on notice of additional charges in superseding
indictment for a month before the superseding indictment was returned, and the defendant had 32
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